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                                         STATEMENT OF FACTS

        Your affiant,                       , is a Task Force Officer (TFO) with the Federal Bureau of
Investigation (FBI) assigned to FBI’s Cleveland Field Office, Toledo Residence Agency. I have been
assigned to the Joint Terrorism Task Force, a joint federal and local task force investigating violations of
federal law committed in Northwest Ohio. I have been a TFO with the FBI since March of 2022. I am also
a detective with the Toledo Police Department (TPD) in Toledo, Ohio, and have been employed with the
TPD since 2013. Currently, I am tasked with investigating criminal activity in and around the U.S. Capitol
grounds on January 6, 2021. As a TFO, I am authorized by law or by a government agency to engage in
or supervise the prevention, detention, investigation, or prosecution of violations of federal criminal laws.

       Background – The U.S. Capitol on January 6, 2021

       The U.S. Capitol building is secured 24 hours a day by U.S. Capitol Police (“USCP”). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by USCP.
Only authorized people with appropriate identification are allowed access inside the U.S. Capitol. On
January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S. Capitol.
During the joint session, elected members of the United States House of Representatives and the United
States Senate were meeting in separate chambers of the U.S. Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which took place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President Mike
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As noted
above, temporary and permanent barricades were in place around the exterior of the U.S. Capitol building,
and USCP were present and attempting to keep the crowd away from the Capitol building and the
proceedings inside.

        At such time, the certification proceedings were still underway and the exterior doors and windows
of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted to
maintain order and keep the crowd from entering the Capitol; however, shortly around 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows and by
assaulting members of the USCP, as others in the crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President Mike
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the United
States Congress was effectively suspended until shortly after 8:00 p.m. Vice President Mike Pence
remained in the United States Capitol from the time he was evacuated from the Senate Chamber until the
sessions resumed.

        During national news coverage of the aforementioned events, video footage which appeared to be
captured on mobile devices of persons present on the scene depicted evidence of violations of local and
federal law, including scores of individuals inside the U.S. Capitol building without authority to be there.
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       “AFO-506”

       A review of body-worn camera (BWC) footage of D.C. Metropolitan Police Department
(MPD) officers revealed an unidentified individual assaulting law enforcement officers at the U.S.
Capitol on January 6, 2021. The unidentified individual—subsequently identified as Matthew
HONIGFORD, as discussed below—was then included as BOLO AFO-506 in an FBI Seeking
Information poster which was disseminated by the FBI Office of Public Affairs on or about December
10, 2021:




        MPD Body-Worn Camera Footage of BOLO AFO-506 Assaulting Law Enforcement
Officers on Lower Southwest Plaza: As seen on BWC footage, at approximately 2:30 p.m., a crowd
of rioters were assembled on the Southwest Plaza exit wing of the U.S. Capitol. Law enforcement
officers from the USCP and MPD had formed a line as a barrier against the crowd. Rioters were
moving toward the police line as law enforcement officers moved up the exit wing stairs. Thereafter,
rioters successfully advanced up the stairs. HONIGFORD was at the front of the crowd of rioters.

        A review of the BWC footage of two MPD Officers (“Officer 1” and “Officer 2”) revealed that
at approximately 2:30:35 p.m., HONIGFORD was holding a flagpole horizontally in front of his body
with both hands. HONIGFORD pushed the flagpole into Officer 1’s chest area (Screenshot 1). Officer
1 reached out to grab the flagpole with his right hand, then both hands, then ultimately maintained a
hold of the flagpole with his left hand. Officer 1 continued to struggle back and forth with
HONIGFORD over the flagpole until approximately 2:30:52 p.m., when Officer 1 pushed the flagpole
downward and released his grip on the flagpole. Thereafter, HONIGFORD moved the flagpole into a
vertical position and held it with both hands.




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       Screenshot 1: MPD Officer 1 BWC

        MPD Body-Worn Camera Footage of BOLO AFO-506 Assaulting Law Enforcement
Officers on Upper West Terrace: As seen on BWC footage, at approximately 2:45 p.m.,
HONIGFORD advanced with a crowd of rioters to the Upper West Terrace. Rioters assembled on the
steps in front of the police line that officers formed with metal bike racks to act as a barrier against the
crowd. HONIGFORD was again at the front of the crowd of rioters and encouraged other rioters to
move toward the police line by yelling, “Up!” and moving his hands in a gesture to bring people
towards where he was standing.

       A review of the BWC footage of four MPD Officers (Officers 3–6) revealed that from
approximately 2:44:34 p.m. until 2:46:15 p.m., HONIGFORD was touching or attempting to touch
Officers 3 and 4 with his hands. As captured on the BWC footage, HONIGFORD stated he was
praying for the officers. Other rioters and officers told HONIGFORD not to touch the Officers but
HONIGFORD continued to do so (Screenshot 2).




       Screenshot 2: MPD Officer 3

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           Starting at approximately 2:46:35 p.m., rioters pushed against the metal barriers, moving them.
   HONIGFORD put his right hand on the top of the barrier. HONIGFORD squatted and grabbed the
   middle rack section of the barrier with his right hand, appearing to gain a stronger grip on the barrier.
   An Officer 4 placed her hands on HONIGFORD’s shoulders as HONIGFORD used his body to push
   the barriers against the law enforcement line. At 2:46:42, Officer 4 grabbed HONIGFORD’s jacket
   hood with her right hand, which appeared to be an attempt to pull HONIGFORD up from his squatting
   position and prevent HONIGFORD from continuing to push into the metal barrier with
   HONIGFORD’s body. As Officer 4 attempted to lift HONIGFORD, HONIGFORD leaned back away
   from Officer 4 and kicked the metal barrier toward Officer 4. Simultaneously, other rioters to the right
   of HONIGFORD separated sections of the barriers and broke through the law enforcement line. After
   kicking the barrier against Officer 4, HONIGFORD moved along with other rioters towards the break
   in the barriers. HONIGFORD instructed other rioters to “pull it down” and carried one of the barriers
   into the crowd away from law enforcement. Thereafter, law enforcement officers established a new
   line higher up on the stairs. HONIGFORD remained at the front of the crowd of rioters and walked up
   the stairs towards the new law enforcement line. Shortly thereafter, HONIGFORD held a long silver
   pole in his right hand and moved towards the law enforcement line with the pole held out horizontally
   (Screenshot 3). As HONIGFORD approached, the officers held out their hands to receive the pole and
   HONIGFORD is heard saying, “I don’t want us to have this.” He then gave the pole to officers.




          Screenshot 2: MPD Officer 4

      Additional MPD Body-Worn Camera Footage of HONIGFORD: At approximately 2:50:43
p.m., HONIGFORD climbed to a higher platform on the U.S. Capitol building and stood facing rioters
below waving an American flag. Other rioters began to join him at approximately 2:57:15 p.m.

     Initial Identification of AFO-506 as MATTHEW HONIGFORD




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      Records obtained pursuant to a search warrant served on Google are consistent with a device,
associated with phone number ending in 9950 (the “9950 Number”) 1 and matthongiford@gmail.com,
being located near the Southwest Scaffolding and Stairs of the U.S. Capitol at approximately 2:35 p.m.
on January 6, 2021. These results returned MATTHEW HONIGFORD as the subscriber associated with
this Google account (“the Google Account”).

        Subsequent searches of law enforcement databases obtained results for an individual with an Ohio
driver’s license and date of birth in 1992. HONIGFORD’s driver’s license photograph matches the
appearance of AFO-560 in the BWC footage referenced above.

      In response to legal process, Verizon Wireless confirmed that the 9950 Number (which Google
search warrant returns placed near the U.S. Capitol on January 6) was registered to HONIGFORD. Toll
records show numerous call transactions took place when the device associated with the 9950 Number
was in Ohio. Records further indicate that sometime between January 3 and January 6, 2021, the device
associated with the 9950 Number traveled from Ohio to Washington, D.C., and placed multiple calls
originating from Washington, D.C.

        Other Google Account records included videos and photographs dated January 6, 2021, showing
people carrying American flags and Trump campaign flags and chanting “Stop the Steal” in the vicinity
of the Washington Monument, as well as a 28-minute video dated January 6, 2021, of then-President
Donald Trump giving a speech on a screen at the “Stop the Steal” rally. Google location data records also
show that the device associated with the 9950 Number traveled from Ottoville, Ohio, through Ohio and
Pennsylvania on January 5, 2021. On January 6, 2021, location data shows the device stopping at multiple
locations in Maryland before entering the Washington, D.C., area shortly after 5:00 a.m., and departing
Washington, D.C., for Clear Spring, Maryland, at approximately 4:30 p.m. As noted above, location data
shows the device in the vicinity of the U.S. Capitol building from approximately 2 p.m. to 3 p.m. on
January 6, 2021. On January 7, 2021, location data shows the device stopping in Clear Spring, Maryland,
and Grantsville, Maryland, before returning to Ottoville, Ohio, that evening.

       In response to legal process, Fifth Third Bank produced records for an account in MATTHEW
HONIGFORD’s name. The records show that a debit card associated with the account made a purchase
in at a Sunoco in Grantsville, Maryland, on January 7, 2021. Fifth Third Bank records also identified the
Ohio Army National Guard as an employer of HONIGFORD.

      Records provided to FBI by the Department of Defense identified HONIGFORD as a former
Specialist with the Ohio Army National Guard who was honorably discharged for completion of his
enlistment commitment in March 2022.

           Further Identification of HONIGFORD as AFO-560

        On or about October 13, 2023, a Staff Sergeant with Ohio Army National Guard (Witness 1) whose
identity is known to your affiant, was interviewed and shown screenshots of AFO-560 from the footage
of January 6, 2021, referenced above. Witness 1 positively identified AFO-560 as HONIGFORD. Witness
1 further reported that HONIGFORD was a Specialist in the Aviation Battalion that Witness 1 oversees
beginning in 2019. According to Witness 1, shortly after the presidential election in November 2020,

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       The full phone number is known to your affiant.
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HONIGFORD stopped attending drill weekends, stating that his sister was sick and he needed to be
available to help her and that he did not trust the current state of the country following the election of Joe
Biden as president. HONIGFORD was reported Absent Without Leave but permitted to remain in the
Ohio Army National Guard until his Expiration Term of Service date on March 14, 2022.

       Conclusion

        Based upon the foregoing, your affiant submits that there is probable cause to believe that
MATTHEW HONIGFORD violated 18 U.S.C. § 111(a)(1) and (2), which makes it a crime to forcibly
assault, resist, oppose, impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as
an officer or employee of the United States while engaged in or on account of the performance of official
duties, and provides for an enhanced penalty where the defendant’s acts involve physical contact with the
victim or the intent to commit another felony. USCP officers are federal law enforcement officers for
purposes of Section 2114. The definition under Section 1114 is further extended to include any person
assisting such a federal officer or employee in the performance of his or her official duties or on account
of that assistance. USCP officers are federal law enforcement officers and MPD officers were assisting
USCP officers in protecting the Capitol and members of Congress on January 6, 2021.
        Your affiant submits there is also probable cause to believe that MATTHEW HONIGFORD
violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which in any
way or degree obstructs, delays, or adversely affects commerce or the movement of any article or
commodity in commerce or the conduct or performance of any federally protected function. For purposes
of Section 231 of Title 18, a federally protected function means any function, operation, or action carried
out, under the laws of the United States, by any department, agency, or instrumentality of the United States
or by an officer or employee thereof.
         Your affiant further submits that there is probable cause to believe that MATTHEW HONIGFORD
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; and (2) knowingly, and with intent to
impede or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so that,
such conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
functions. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned
off, or otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building or
grounds so restricted in conjunction with an event designated as a special event of national significance.
        Finally, your affiant submits there is also probable cause to believe that MATTHEW
HONIGFORD violated 40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in
the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress.




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                                                                                ____

                                                    Task Force Officer
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone,
this 17th day of November 2023.                                             2023.11.17
                                                                      14:05:19 -05'00'
                                                    ___________________________________
                                                    HONORABLE ROBIN M. MERIWEATHER
                                                    UNITED STATES MAGISTRATE JUDGE




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